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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Case No. 1:21-cr-00682-TFH
                                              :
PHILIP JAMES WEISBECKER,                      :
                                              :
               Defendant.                     :

   GOVERNMENT RESPONSE TO MOTION FOR RETURN OF PASSPORT AND
 CLARIFICATION OF SPECIAL CONDITIONS OF PROBATIONCLARIFFICATION

       The United States of America, by and through the United States Attorney for the District

of Columbia, responds to Defendant Philip James Weisbecker’s (“Weisbecker”) Motion for Return

of Passport and Clarification of Special Conditions of Probation, and in support thereof shows unto

the Court:

                                 RELEVANT BACKGROUND

       On November 8, 2021, the Government filed a four-count Information that charged

Weisbecker violated 18 U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G).

ECF No. 14. On March 3, 2021, Weisbecker pleaded guilty to Count Four of the Information,

which charged him with a violation of 40 U.S.C. § 5104(e)(2)(G), Parading, Demonstrating, or

Picketing in the Capitol Building.

       On June 27, 2022, after a lengthy hearing, the Court sentenced Weisbecker, in relevant

part, to 24 months’ probation and as a condition of his probation ordered Weisbecker to serve 30

days of intermittent incarceration with 7 days credit for time served.

       On July 6, 2022, Weisbecker filed a motion seeking the return of his passport and for

clarification the special conditions of probation imposed regarding his possession of firearms, drug

testing, and the intermittent confinement. ECF No. 35.

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       On July 8, 2022, the Court issued the judgment which resolved many of the issues raised

in Weisbecker’s motion. ECF No. 36. The judgment, however, did not address the return of

Weisbecker’s passport.

                                    RESPONSE TO MOTION

       Regarding Weisbecker’s passport, the passport is in the position of pretrial services and the

Government takes no position on its return to Weisbecker.

                                     Respectfully submitted,

                                      MATTHEW M. GRAVES
                                      United States Attorney
                                      D.C. Bar No. 481052


                              By:     /s/ Michael G. James
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